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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES )
  OF DARTMOUTH COLLEGE,        )
                               )
                               )               C.A. No. 18-1434-CFC
               Plaintiffs,     )
                               )
      v.                       )
                               )
  ELYSIUM HEALTH, INC.,        )
                               )
               Defendant.      )

                     REPLY BRIEF IN SUPPORT OF
         ELYSIUM HEALTH, INC.’S RULE 12(b)(1) MOTION TO DISMISS
                     CHROMADEX, INC.’S CLAIMS



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  {01568146;v1 }
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  {01568146;v1 }                                       iii
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  I.       INTRODUCTION
           Plaintiffs do not deny that Dartmouth granted ChromaDex and Healthspan

  the same rights. Nor do they deny that Healthspan and ChromaDex each has the

  express contractual right to grant licenses under the patents to others, including

  Elysium. Under binding Federal Circuit law, including the WiAV case on which

  Plaintiffs so heavily rely, where two separate entities each has the legal right to

  authorize an alleged infringer’s conduct, neither has exclusive rights and, therefore,

  neither has standing to sue for the alleged infringement.

           Attempting to avoid this straightforward application of black letter law,

  Plaintiffs assert that neither ChromaDex nor Healthspan would have exercised its

  right to grant Elysium a sublicense absent the assent of the other. But even if true,

  this assertion is legally irrelevant. Two non-exclusive licensees cannot both obtain

  standing to sue by claiming that they intend to coordinate their sublicensing

  activities. More fundamentally, the standing analysis turns on the legal rights held

  by each licensee, not on each licensee’s subjective intent at a particular point in

  time to authorize or not authorize the allegedly infringing conduct. The fact that

  each licensee is empowered to grant sublicenses is dispositive of standing; it makes

  no difference whether either licensee would have exercised that power.

           Plaintiffs’ argument that this Court should treat ChromaDex and Healthspan

  as a single entity because they share common management is contrary to bedrock


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  law that corporate separateness must be respected. Delaware courts do not pierce

  the corporate veil so easily. Numerous courts have declined to treat licensees that

  are related companies as a single entity for patent standing, and Plaintiffs do not

  cite to a single case applying veil piercing in these circumstances.

         In a misplaced effort to distract the Court, Plaintiffs devote nearly half their

  brief to irrelevant recitations of ChromaDex’s other grievances against Elysium—

  all unproven allegations made in proceedings in other courts.1 None of these

  allegations claims an injury to exclusive patent rights. The terms of the Restated

  License Agreement are clear, as is the law of standing. Two separate licensees

  cannot each have the same right to grant a sublicense covering the same allegedly

  infringing activity and still claim exclusivity. Both Chromadex and Healthspan

  lack standing, and this Court lacks subject matter jurisdiction over their claims.

  II.   ARGUMENT

        A.     ChromaDex and Healthspan Do Not Have Standing Because Each
               Has the Contractual Right to License Elysium
        Plaintiffs argue that this Court should ignore ChromaDex and Healthspan’s

  contractual rights and rule that each has standing based on the subjective state of

  mind of ChromaDex executives. But standing to sue for infringement turns on the


  1
    Plaintiffs fail to mention Elysium’s counterclaims against ChromaDex in the
  California action for breach of contract, fraud, and patent misuse. They also ignore
  that it was Elysium that sued ChromaDex, not the other way around, in the first of
  the two consolidated cases in New York.
  {01568146;v1 }                             2
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  legal rights held by the purported claimant, not on the claimant’s subjective

  intentions, or the willingness of multiple non-exclusive licensees to act

  collectively. As the Federal Circuit has explained, “[i]n determining whether a

  party holds the exclusionary rights, we determine the substance of the rights

  conferred on that party.” Morrow v. Microsoft Corp., 499 F.3d 1332, 1340 n.7

  (Fed. Cir. 2007) (emphasis added). “[I]t is the licensee’s beneficial ownership of a

  right to prevent others from making, using or selling the patented technology that

  provides the foundation for co-plaintiff standing.” Ortho Pharm. Corp. v. Genetics

  Inst., Inc., 52 F.3d 1026, 1031-32 (Fed. Cir. 1995) (emphasis added).

           Under Federal Circuit law, the sum of non-exclusive parts does not make an

  exclusive whole. Non-exclusive licensees cannot become exclusive licensees by

  choosing to pool their rights together, including against a common foe or

  competitor. For example, in Rite-Hite v. Kelley Co., it did not matter to the en

  banc Federal Circuit whether the independent sales organizations holding non-

  exclusive rights banded together to sue the defendant, as in fact they did. 56 F.3d

  1538, 1552-54 (Fed. Cir. 1995). The Federal Circuit did not treat their aggregated

  rights as exclusive, whether they were acting collectively or otherwise. Plaintiffs’

  core thesis is thus contrary to en banc Federal Circuit law. If Plaintiffs’ thesis

  were accepted, non-exclusive licensees would have standing to sue for patent

  infringement so long as all of them joined as co-plaintiffs and each swore it would

  {01568146;v1 }                             3
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  refuse to license the defendant without the others’ consent. That is not the law of

  patent infringement standing.

        Plaintiffs are also wrong in asserting that multiple “exclusive” licensees,

  each having the legal right to license the accused infringer, can exist in the same

  field. As the en banc Rite-Hite court explained, an exclusive licensee must have

  rights sufficient to ensure that “others shall be excluded from practicing the

  invention within [its] territory….” Id. at 1552. By contrast, nonexclusive

  licensees lack “the right to exclude others” from their territory. Id.; Mars, Inc. v.

  Coin Acceptors, Inc., 527 F.3d 1359, 1368 (Fed. Cir. 2008).

        WiAV Solutions LLC v. Motorola, Inc., 631 F.3d 1257, 1264-65 (Fed. Cir.

  2010), on which Plaintiffs rest their entire argument, does not hold otherwise.2 In

  WiAV, the other licensees did not have licensing rights in the “same” field as

  WiAV, as ChromaDex falsely asserts. In fact, the other licensees’ licensing rights

  were much narrower. They were limited to licensing specific products, specific

  companies, or unrelated technologies. Id. at 1262, 1267-68.3 None of their rights


  2
    Nor could it. A Federal Circuit panel is bound by prior precedential panel
  decisions like Mars and, even more so, by the Federal Circuit’s en banc decisions
  like Rite-Hite. Deckers Corp. v. United States, 752 F.3d 949, 965 (Fed. Cir. 2014).
  3
    Rockwell and Qualcomm could only license their own affiliates. Mindspeed
  could only license Mindspeed products. Conexant could only license Conexant
  products. Sipro could only license Mindspeed products for wireless LAN. WiAV,
  631 F.3d at 1261. The defendants in WiAV were not Rockwell or Qualcomm
  affiliates and were not selling Mindspeed or Conexant products. Id. at 1267-68.
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  encompassed the ability to license defendants’ infringing conduct. Thus there was

  no other licensee encroaching upon the exclusive patent rights that WiAV asserted

  were injured by Defendants’ infringing conduct. As WiAV explains, “[t]he

  question is whether WiAV has shown that it has the right under the patents to

  exclude the Defendants from engaging in the alleged infringing activity and

  therefore is injured by the Defendants’ conduct.” Id. at 1267 (first emphasis

  added). WiAV had standing because only WiAV had the “exclusive right to

  practice and enforce the [patents] in” the area in which the Defendants’ allegedly

  infringing conduct occurred. Id. at 1267 (emphasis added).

           The WiAV court’s analysis thus turned on legal rights, not on any party’s

  subjective willingness (or not) to license the accused infringer. As the Federal

  Circuit explained, “[b]ecause an exclusive licensee derives its standing from the

  exclusionary rights it holds, it follows that its standing will ordinarily be

  coterminous with those rights.” 631 F.3d at 1266 (emphases added). In other

  words, what was determinative for standing purposes was not whether the other

  licensees were willing to grant licenses to the accused infringer, but rather that

  “neither Rockwell Science Center, Mindspeed, Conexant, Skyworks, Qualcomm,

  nor Sipro has the right to extend licenses to the Defendants.” Id. at 1267

  (emphasis added).

           Similarly, in Acceleration Bay LLC v. Activision Blizzard, Inc., 2017 U.S.

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  Dist. LEXIS 135562 (D. Del. Aug. 24, 2017), nowhere does Judge Andrews

  consider whether the other licensee (Sony) would in fact refuse to grant a license.

  Rather, as Plaintiffs are forced to acknowledge, the plaintiff’s standing was

  destroyed because both it and Sony had the “ability” to grant licenses. Id. at *8 (“I

  think the implication [of WiAV] was that if the third parties had the ability to issue

  a license to the defendants, then the plaintiffs would not have standing to sue.”).

        Likewise, in Poly-America, L.P. v. GSE Lining Technology, Inc., the Federal

  Circuit found that Poly-America’s sister company and licensee, Poly-Flex, did not

  have exclusive rights, even though both companies “seem to share interests as two

  entities collaborating in the manufacture and sale of textured landfill liners.” 383

  F.3d 1303, 1311 (Fed. Cir. 2004). In other words, these sister companies’ shared

  interests were legally irrelevant to whether Poly-Flex was an exclusive licensee.4


  4
    Plaintiffs’ reliance on Luminara Worldwide, LLC v. Liown Electronics Co., 2015
  U.S. Dist. LEXIS 51449 (D. Minn. Apr. 20, 2015), is misplaced. In that case,
  unlike here, the other licensee, Disney, “was not permitted to license the
  [technology] merely for the purposes of licensing the patents.” Id. at *13.
  Plaintiffs also overlook the Federal Circuit’s subsequent decision in the same case
  agreeing that if the agreement had permitted Disney to “license any entity…
  [plaintiff] would not have had exclusionary rights to the asserted patents.”
  Luminara Worldwide, LLC v. Liown Elecs. Co., 814 F.3d 1343, 1348 (Fed. Cir.
  2016).

  Nor does Novartis Pharm Corp. v. Teva Pharm. USA, Inc., 2009 U.S. Dist. LEXIS
  97635, *13 (D.N.J. 2009) support Plaintiffs’ argument. In that case, there was
  disputed evidence as to the terms of the applicable license agreements (the original
  licenses could not be located). Here, the express terms of Dartmouth’s written
  license agreement are known and not in dispute.
  {01568146;v1 }                            6
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           The motivations of other licensees are not relevant for obvious reasons. At

  heart, a patent plaintiff must show an injury to the exclusive rights it holds under

  the patent. Whether a licensee holds exclusive rights and whether a court has

  subject matter jurisdiction cannot vary based on the changing motivations and

  whims of other licensees. The analysis that ChromaDex invites would allow any

  non-exclusive licensee to claim “exclusive” rights just by presenting a declaration

  stating that all other non-exclusive licensees were unwilling to grant licenses. A

  defendant would be subject potentially to multiple suits by numerous “exclusive”

  licensees. What happens if one licensee changes its mind? What happens if one

  settles but others do not? That first settlement would authorize the accused

  infringer’s conduct, mooting the other cases. How can the other licensees’ patent

  rights be “exclusive” when they do not encompass the power to exclude?5

           Courts applying WiAV have properly focused on the scope of the licensee’s

  rights, not on its subjective intent whether to exercise them. For example, in Hill-

  Rom Co. v. GE, 2014 U.S. Dist. LEXIS 108428, *4-6 (E.D. Va. 2014), the patentee

  corporation, HRS (a plaintiff), had granted licenses to its two sister corporations,



  5
    Plaintiffs’ extensive reliance on ChromaDex’s unproven grievances against
  Elysium in separate lawsuits is telling. Because Plaintiffs cannot show injury to an
  exclusive patent right under the patent statute, they resort to distraction. But a non-
  exclusive licensee is not allowed to bring a patent case simply because it alleges
  that other rights protected under other laws were violated.

  {01568146;v1 }                             7
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  HRM and HRC (also plaintiffs), but had retained the right to grant further licenses.

  Thus, the license on its face did not grant HRM and HRC exclusive rights, because

  the licensor had the legal right to license others, including an accused infringer.

  Attempting to overcome this, HRS, HRC, and HRM—just like ChromaDex and

  Healthspan here—submitted a declaration from in-house counsel asserting that the

  agreement was in reality exclusive, because the related companies would

  necessarily act in concert. The declaration stated that “these agreements are in fact

  exclusive” because “HRS cannot settle litigation without [HRM and HRC’s]

  consent.” Id. The court rejected this argument, finding that HRM and HRC lacked

  standing. The court explained that, despite the three companies’ professed

  unwillingness to license the accused infringer, the rights granted by the license

  established that “HRS… remains free to license other companies to manufacture or

  sell products embodying the asserted patents.” Id. This post-WiAV decision is on

  all fours with this case.

           Likewise, in Copperhead Industrial, Inc. v. Change & Dresser, Inc., a

  licensee and patentee jointly sued for patent infringement. The licensee lacked

  standing to sue because the patentee “retained the ability to license the patents-in-

  suit to a third party.” 2019 U.S. Dist. LEXIS 218092, *10 (D. Ala. Dec. 19, 2019)

  (emphasis added). The patentee’s lawsuit, which manifested its clear




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  unwillingness to license the defendant, did not create standing for its co-plaintiff

  licensee.6

        B.     Courts Do Not Engage in Veil Piercing in Evaluating Whether a
               License is Exclusive

        Plaintiffs’ argument that Healthspan and ChromaDex are not “independently

  managed entities” and are “run by the same management team” cannot convert

  non-exclusive patent rights into exclusive rights. Plaintiffs effectively demand that

  this Court pierce the corporate veil and treat Healthspan and ChromaDex as one.

  But Plaintiffs do not cite a single case in which a court has employed veil piercing

  to evaluate standing to sue under the patent statute. By contrast, numerous cases,

  discussed above and in Elysium’s opening brief, hold that a patent plaintiff’s

  alleged exclusivity is destroyed by sharing its rights with affiliated corporations

  without entertaining a veil-piercing consideration of the affiliates’ common

  control, management or business strategy.7 See D.I. 59 at 14-15.


  6
    For these reasons, the requirement that Dartmouth consent to sublicenses is
  irrelevant. Healthspan and Dartmouth together have the right to license Elysium
  without ChromaDex, and ChromaDex and Dartmouth together have the right to
  license Elysium without Healthspan. Plaintiffs also conveniently ignore that
  Dartmouth’s consent “shall not be unreasonably withheld.” D.I. 50, Ex. D at 2.02.
  7
    Even where veil piercing is allowed—and it is not here—Plaintiffs’ arguments
  relying on common control and management of ChromaDex and Healthspan would
  fall far short. E.g., Mabon, Nugent Co. v. Texas Am. Energy Corp., 1990 Del. Ch.
  LEXIS 46, *14 (Del Ch. Apr. 12, 1990) (“[U]nder Delaware law, the separate
  corporate existences of parent and subsidiary will not be set aside merely on a
  showing of common management of the two entities.”).
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           The separateness of corporate entities is bedrock law. Healthspan is a

  limited liability company organized under Delaware law. “Delaware courts take

  the corporate form and corporate formalities very seriously . . . .” and do not

  abrogate them lightly. See Culverhouse v. Paulson & Co., 133 A.3d 195, 199 (Del.

  2016); see also Mobil Oil Corp. v. Linear Films, Inc., 718 F.Supp. 260, 270 (D.

  Del. 1989) (“Disregard of the corporate entity is appropriate only in exceptional

  circumstances.”). Indeed, in rejecting arguments that a parent company and

  subsidiary “are really the same company” for standing purposes, the Delaware

  Court of Chancery observed, “[e]ssentially, [parent company] seems to be trying to

  pierce its own corporate veil, which would be unusual to say the least….” Case

  Fin., Inc. v. Alden, 2009 Del. Ch. LEXIS 153, *12-13 (Del. Ch. Aug. 21, 2009).

  As the Third Circuit has explained, “any court must start from the general rule that

  the corporate entity should be recognized and upheld, unless specific unusual

  circumstances call for an exception.” Zubik v. Zubik, 384 F.2d 267, 273 (3rd Cir.

  1967). Plaintiffs’ argument runs afoul of these principles and should be rejected.

  III.     CONCLUSION

           For the foregoing reasons, the Court should dismiss ChromaDex, Inc.’s

  claims for lack of subject matter jurisdiction.




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                              CERTIFICATE OF COMPLIANCE

           This brief complies with the type, font and word limitations set forth in this

  Court’s Standing Order Regarding Briefing in All Cases, dated November 6, 2019.

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